Case 96-54979 Doc1241-2 Filed 11/08/07. Pagelof2
STORAGE USA RENTAL AGREEMENT - STATE OF MARYLAN

; , -./his, Rental Agreement Is executed at the place and on the date set forth below, between SUSA Partnership L.P. (herematter “Les: and,
"Vey uxe “once L ” (hereinafter “Tenant or “ihe Occupant’) ag evidenced by their signatures below, and Is made. bubjoct
fo the terms and conditions set forth below fy this Rental Agreement, which terms and Conditions are incorporated herein and made a part hereof for all purposes. in consideration
of the covenants, conditions, and agreements hereinafter contained to be kept and performed by Tenant, Lessor does hereby lease to Tenant and Tenant hereby leases from
Lessor the herein described property, hereinafter call “the Space” or if referring to the entire property, “the Facility".

1. TENANT TENANT INFORMATION (PLEASE PRINT Storage Space No. —_Ads2_

INFORMATION .
. . — yi i oo Ss NY \~y
Make All Checks mae erie, Conce et App see |= AS

N * .
Payable To: SVT Rikelwe Way Suike 207] Monthy Rent s_\3 49.90

ADRRESS ,
STORAGE USA Axnold My _DAo\2_—Poseted Rents
city STATE ap _
and YY 42.99 “TST -ANG_— Prerate 5
. PHONE (HAD ~ (BUS.) ad $ . wy
Mail or Deliver To: 2-36-3623 Total Rent Recelved >
SOCIAL SECURITY NUMBER 4 q 7 ay wy > Lock $
\ 4 . , i 2k "Ils .
A\ SO ay ‘AAG amet oF ‘| == “SAE a Administation Fees g 1 SQ
i Wi Oy stone: s Total Received s IAS.
wl) Spex . AUTHORRED ACCESS ~ _
e TSAO Wixsinian Kowolsasiny Pald Through S155
EMERGENCY CONTACT {
RENT IS DUE ON THE IST DAY OF EACH MONTH - A BILL WILL NOT BE SENT TO YOU
2. TERMS This Rental Agreement is a month-to-month rental 9! which shall Ice on the date of execution and shall terminate on the last day |

of the the current month, and each and very month thereafter, unless notice Is given ten (10) days prior to the end of the last month of tenancy by
aither party, subject to all terms and conditions hereafter stated. if Tenant elects to hold over or for any reason falls to remove his/her property from
the Space after the term of this Agreement, then this Ag shall be at tically renewed, on a month-to-month basis. In the event this
Agreement Is extended or renewed, it Is expressly agreed that the covenants and terma of this Agreement shall remain In full force and effect.
3. RENT The rent shall be $ \S4 _ 3% per month. Rent shall be payable as follows: Rent is due and Payable the first day of each calendar month,
In advance and without demand. If rental Is hot pald by the fifth (5th) day of the month due, Tenant agrees to pay a LATE CHARGE of

TENANT INTIALS $ . .
HERE delinquent will be assessed an additional $24. Preforeclosure Fes. Tenant agrees to pay a $ 20s Charge for each

12 hereof, it Is understood and agreed that the Nabiilty of Tenant for the rents, charges, costs, and expenses Provided for In this Flenta! Agreement

shail not be relinquished, diminished or @xtingulshed prior to Payment In full or termination of this Agreement, whichever occurs first in time. it Is further

agreed that Tenant shall be Personally llable for all rents, charges, costs, expenses io the date Of termination of this Agreement, expenses incurred

Pay sale andor onan ot the property, advertising costs, attorneys’ feas, court costs, and any costs of repair and damages to the Space or
aciity as prov! or below. In the event of a sale or other disposition It Is agreed that the date of any such sale or other dispositi cons’

the date of termination of this Agreement. y ovpomnon shall mute

4 PAST DUE RENT In addition to, but not In il of, all r di to Lessor, the laws of this state 48 summarized In Paragraph 12 B.
1 1» gives
LOCKOUT the Lessor a Nen upon all personal Property, whether or not owned by the Tenant, located at the solf-atorage facility ‘or payment of rent,
fabor or other y | d. In the event Tenant Is in Gefault hereunder, the Lessor may without notice, deny the Tenant access
to the property located In the self-storage facility. All charges of whatever nature due under this Rental Agreement shall constitute rent,

5. FEE Concurrently with the execution of this Rental Agreement, Tenant shall pay to Lessor "L. a
Adminisnagon’ pat pay $. 8 @ nonrefundalie new account
6. RENEWAL Lessor reserves the right not to extend or renew this Agreement for any cause or No cause whatsoever, and Tenant agrees to vacate u
. n
default by Tenant or upon any notice of termination from Lessor, 9 pon any
7. HOLDING OVER Unless tan (10) days prior the the end of the last month of tenancy, or any extension or renewal of this Agreement, elther of the Parties gives the

other party notice of his/her Intention to terminate this Agreement at the end of the paid term, thls Agreement shall be construed ag a tenancy at
sutferance at the rental rate and on the same terms and conditions herein specified, or as such may be modified Pursuant to Parsgraph 18 below,

vere Ly ALS MONTH OF TENANCY, AND TENANT AGREES THAT FAILURE TO GIVE SUCH WRITTEN NOTICE WILL ALLOW LESSOR TO CLAIM AND

8. USE The storage Space shall not be used for any unlawful Purpose and will be kept in good condition. Tenant shall have sole reponsibliity to secure the

g

Is a debtor. Tenant has exclusive contral of the storage Space during the term of thls Agreement, and speciticaily agrees that so long as Tenant
observes the Aules and F and the provision of thi graph, Lessor is not cancerned with the kind, quality or value of @ny goods stored,
Description of property to be sor: LOA wer ranes | DEEN & FU ADIL E

TENANT INITIALS “. 2
HERE liv It Fair Market Value exceeds $5000 please supply Insurance Co.. Policy #.
. >
~ Tenant agrees that in no event shall the total value of ail Properly stored In this Space fe deemed to excaed $5,000 unless Lessor has given permission

INSURANCE NO BAILMENT IS CREATED HEREUNDER. LESSOR IS NOT A WAREHOUSEMAN ENGAGED IN THE BUSINESS OF STORING GOODS FOR
OBLIGATIONS HIRE, AND ALL PROPERTY STORED WITHIN OR ON THE SPACE BY TENANT OR LOCATED AT THE FACILITY SHALL BE AT TENANT'S SOLE

2

TENANT HEREBY AGREES TO INDEMNIFY AND HOLD HARMLESS THE LESSOR FROM AND AGAINST ANY AND ALL CLAIMS FOR DAMAGES
OR LOSS TO PROPERTY OR PERSONAL INJURY AND COSTS INCLUDING ATTORNEYS’ FEES ARISING FROM TENANT'S USE OF THE SPACE
OR THE FACILITY, OR FROM ANY ACTIVITY, WORK OR THING DONE, PERMITTED OR SUFFERED TO BE DONE BY TENANTS IN OR ON THE
SPACE OR ABOUT THE FACILITY.

TENANT HEREBY EXPRESSLY AGREES THAT ANY CARRIER WHICH ISSUES ANY INSURANCE ON ANY PROPERTY STORED OR
OTHERWISE LOCATED IN THE SPACE SHALL NOT HAVE THE RIGHT OF SUBROGATION TO ANY CLAIM THE TENANT HAS AGAINST THE
LESSOR, LESSOR'S AGENTS OR EMPLOYEES TO INCLUDE LESSOR'S INSURANCE CARRIER.

win or ansing, airecny or ir y; Tom eucn E by: employee of Lessor.-t iding: that. Leseor-'shal batilable:forsuch!;
Occurrences, Tenant agrees to notify Lessor Immediately upon the occurrence of any Injury, damage or loss suffered by the Tenant or other persons
on or within the Faciilty.
Nothing In this paragraph {s Intended to limit or walve elther party's rights under the laws of this state as summarized In Paragraph 12 B. By placing
TENANT , INTIALS his/her Initials Tenant acknowledges that he/she has read and und the pi 1s of thls Paragraph 9 and agrees, understands,
wens DA and will comply with its requl space tor poten, ropa
t Lessor, the Tenant shall provide access to the Lessor to enter the leased pace for the purpose of inspection, r ,
INSPECTION attoraion, Impetomarts we to “supply necessary or agreed services. In case of emergency, the Lessor may enter the leased Space for any of the
above stated purposes without notice to or consent from the Tenant, and Lessor reserves the right to remove the contents of the leased pace to
another Space or Facility. For the purposes of this Paragraph, the term “emergency” means any sudden, unexpected occurrence or clrcumstance
which demands Immediate action. ATIVE THEREWrns
AND REMEDIES PROVIDED BY LAW TO SECURE AND COLLECT RENT, AND CUMU +
TENANT HEREBY elves LESSOR A CONTRACTUAL LANDLORD'S LIEN UPON ALL PROPERTY, NOW OR AT ANY TIME HEREAFTER, eee
IN OR ON THE SPACE OR AT THE FACILITY IN ORDER TO SECURE THE TIMELY PERFORMANCE OF THIS AGREEMENT BY TENANT EN
SECURE THE PAYMENT OF ALL RENTS, CHARGES, AND COSTS.INCIDENT TO TENANT'S DEFAULT. FURTHERMORE, LESSOR HAS A L .
ON ALL PROPERTY IN A SELF-STORAGE FACILITY FOR THE PAYMENT OF RENTS, LABOR OR OTHER CHARGES THAT ARE DUE AND
UNPAID BY THE TENANT: PURSUANT TO THE LAWS OF THIS STATE AS SUMMARIZED IN PARAGRAPH 12 B. dh neve nated
i I of thls Agreement and in the payment of each and every instalment of rent an arges herein conv
to bo sal toy none or Grange shal bo us and unpald, or if Tenant shall fall or refuse to perform any of the covenants, conditions or terms a eat
Agreement, Tenant shall be conclusively deemed in default In the performance of this Agreement. Nothing contained In this Rental Agreemen
be construed as limiting Lessar's rights and remedies as provided under the laws of this state,
In case of default, at his/ner option, and without prejudice to any other remedies, Lessor may:

A. Terminate the Rental Agreement, or

1. LIEN

2. DEFAULT

12, DEFAULT Case, 9050 a0 62. rub RGpertre Aehinigr wonbrl Gv didd RENE unoERAGM Bee stoRAGE FACILITY ACT §

13, PROPERTY
NOT SOLD

14. BREACH OF
“COVENANT

16. BANKRUPTCY
16. TERMINATION
17, WAIVER

18.. CHANGE OF
TERMS

19. INDEMNIFY AND

‘HOLD HARMLESS

20. SUBLETTING

21. WARRANTIES

22. SEVERABILITY .

23, SUCCESSION

24. STATE LAW
{TO APPLY

25. DISCLAIMER .

26. ENTIRE
AGREEMENT

27, HEADINGS
28.-RULES AND

REGULATIONS

29. ALTERATIONS,

SIGNS & WASTES

30. PARKING

31, ATTORNEYS’
FEES

32. CHANGE OF
ADDRESS

33. ‘LOCK

34. ABANDONMENT

35, SPECIAL
CONDITIONS

36. RULES &
REGULATIONS

TENANT INITIALS

18-501 ot. seq. COMMERCIAL LAW ARTICLE, CODE OF ‘MARYLAND (ANNOTED). THAT LAW
PROVIDES FOR SALE OF THE PROPERTY AFTER DEFAULT FOR MORE THAN SIXTY (60) DAYS;
BEFORE SUCH SALE IS HELD, LESSOR SHALL MAIL NOTICE OF DEFAULT BY CERTIFIED MAIL,
KETURN RECEIPT REQUESTED, TO THE OCCUPANT AT OCGUPANT’S LAST KNOWN ADDRESS
COMPLYING WITH § 19-504 (b) (2}, COMMERCIAL LAW ‘ARTICLE, CODE OF MARYLAND (ANNOTED); AND ADVERTISE THE TIME,
PLACE AND TERMS OF THE SALE IN A NEWSPAPER OF GENERAL CIRCULATION IN THE JURISDICTION WHERE THE SALE IS TO
BE HELD. THE SALE SHALL BE HELD AT THE FACILITY.

It any property remains unsold after Lessor has compiled with all the requirements of the laws of this state as summarized in Paragraph 12 B.,
Lessor may then otherwise dispose of said property In any manner considered appropriate by the Lessor, including, but not Ilmlted to destroying the
said personal property.

A breach of any of the covenants or conditions of this Agreement by the Tenant shall, at the option of the Lessor, terminate this Agreement and
at which time sald Agreement shall bacome null and void.

tn the event that Tenant files a voluntary petition In bankruptcy, or suffers a peilton in Involuntary bankruptcy to be filed against hinvher, or makes
an assignment for the benefit of creditors or Is placed In recelvership, or Is the subject of any other type of lagal action wherein the right to use and
occupancy of the leased Space Is an Issue, then, at the option of the Lessor, this Agreement shall terminate, and Tenant shall thereafter have no right,
title, or interest In or to any of the leased Space. .

Upen termination of this Rental Agreement, Tenant shall remove all Tenant's personal property from the Space unless such property Is subject to
Lessors lien rights as referenced In Paragraph 11 and shall jiately deliver pc Jon of the Space to Lessor in the same conditon as dellverad
to Tenant on the commencament date of thls Rental Agreement, reasonable wear and tear excepted.

No walver by Lessor, his agents, representatives or employees of any breach or default in the performance of any covenant, condition or term
contained herein shall constitute a walver of any subsequent breach or default In the performance of the same or any other covenant, condition or
term hereof.

All terms of this Agreement, including without limitation, monthly rental, conditions of occupancy and charges are SUBJECT TO CHANGE UPON
THIRTY (30) DAYS PRIOR WRITTEN NOTICE to Tenant. If changed, the Tenant may terminate this Agreement on the effective date of the change
by giving Lessor TEN (10) DAYS PRIOR WRITTEN NOTICE to terminate. If the Tenant does not give such notice, the change shall become effective
and apply to his/her occupancy.

The Tenant agrees to Indemnity and hold harmless the Lessor from any and all costs, disbursements, expenses (including attorneys’ fees),
demands, clalms, actions, or causes of action arising directly or Indirectly from this Agreement or any renewal or extension thereof.

No subletting of the Space or any portion thereof or assignment of this Agreement may be made by Tenant without having written permission of
Lessor In advance. . : :

TENANT HEREBY WARRANTS THAT ALL THE INFORMATION GIVEN BY HIM/HER AND INCORPORATED IN THIS AGREEMENT IS TRUE,
COMPLETE AND CORRECT AT THE TIME OF EXECUTION OF THIS AGREEMENT.

if any part of this Agreement for any reason is declared Invalid, such decision shall not affect the validity of any remalning portion, which remaining
portion shall remain in full force and effect as If this Agreement had ‘been executed with the invalid portion thereof ellminated. It is hereby declared
the Intention of the parties that they would have executed the remaining portion of, this Agreement without Including any such part, parts, or portions
which may, for any reason, be hereafter declared Invalld. :

Lessor may at anyime assign this Rental Agreement In which event, Lessor shall no longer be responsible or liable under the terms of this

_ Agreement and all of the provisions hereof shall apply to, bind, and be obligatory upon the parties and thelr heirs, assigns, executors, administrators,
representatives, and successors of the partes hereto. .

This Agreement and any action arising between the parties shall be construed under and in accordance with the substantive taws of this slate as
summarized In Paragraph 12 B.

The agents and employees of Lessor are not authorized to make warranties about the Space, premises, and Facility refarred to In this Agreement.
Lessors agents’ and employees’ ORAL STATEMENTS DO NOT CONSTITUTE WARRANTIES, and shail not be relied upon by Tenant, nor shall any
of sald statements be considered a part of this Agreement. The entire Agreement and understanding of the partles hereto Is embodied In this writing
and NO OTHER WARRANTIES are given beyond those set forth in this Agreement. The parties hereto agree that the {MPLIED WARRANTIES OF
MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE and atl other warranties, express or Implied, ARE EXCLUDED from this
transaction and shall not apply to the leased Space, premises, and Facility referred to herein. It ts further understood and agreed that Tenant has been
-given an opportunity to Inspect, and has inspocted thls Space, premises, and Facility, and that Tenant accepts such leased Space, premises, and
Facility AS IS and WITH ALL FAULTS. /

Excapt as provided for in Paragraph 28, this Agreement constitutes the solé and only Agreement of the parties hereto and supersedes any prior
understandings or written or oral agreements between the parties respecting the subject matter contained hareln. No amendment or alteration of the
terms hereof shall be binding unless the same be In writing, dated subsequent to the date hereof, and duly executed by the parties hereto, or unless
such Items are modified pursuant to the provisions of Paragraph 18 abdve. So

The’ headings of the various provisions of the Agreement have heen Included only for the convenlence of the parties and are nol to be used in
construing this Agreement nor in ascertaining the Intentions of the parties.

The Rules and Regulations as listed below, are made a part of this Rental Agreement and Tenant agrees to comply at all times with such Rules
and Regulations. Lessor shall have the right from time to Ume to promulgate amendments and additional Rules and Regulatlons for safety, care, and
cleanliness of the Facility and upon posting of any such.amendments or additions In a conspicuous place at the Facility, they shall become a part of
thls Rental Agreement.

Tenant shall not make or suffer to be made any alterations of the Space or Facility nor post any sign without express written conscnt of the Lessor.
Tenant shali not commit nor suffer to be committed any waste In or on the Space or at the Facllity.

The Tenant agrees that parking shall be permitted only in the areas provided and that no parking shall be permitted overnight. Loading and unloading
of vehicles shall not be done in such a way as to block access to other storage spaces and shall be accomplished as rapidly as possible. This Rental
Agreement does not Include the storage of automobiles outside of the leased Space.

In the event any action be instituted or other proceedings taken to enforce any term, covenant or condition herein contalned or to recover any rent
or charge due or to recover possession of the Space or Facllity for any: default or breach of this Rental Agreement by Tenant, Tenant agrees to and
shall pay Lessors reasonable attorneys’ fees, costs, and expenses In connection therewith.

IT SHALL BE THE DUTY OF TENANT TO FURNISH THE LESSOR NOTIFICATION, IN WRITING BY CERTIFIED MAIL, TO LESSOR’S ADDRESS
PROVIDED HEREIN OF ANY CHANGE OF ADDRESS OR PHONE NUMBER.

Tenant shall provide, at Tenants own expense a lock for the Space which Tenant, in Tenant's sole discration, deems sufficient to sacure the Space.
Space shall be Immediataly locked upon tion of the Ag t. Tenant shall not provide Lessor or Lessor's agents with a key and/or
combination to Tenant's lock unless deliveries are to be accepted by Lessor on Tenant's behalf, pursuant to a separate agreement to that effect.

fn the absence of written notice to Lessor to the contrary, it all property Is removed from the storage Space for ten (10) consecutive days and if
the Tenant has failed to make his/her monthly payment before the due date, or If the Tenant has removed the lock from the storage Space, the Tenant
shall be deemed to have abandoned the premises.

There are NO special conditions OTHER THAN those Ilsted here:

EXPLANATION
Your goods may be sold
if your rent is delinquent.

(1) No refunds will bo granted.

(2) Observe, the 5 miles per hour speed limit while driving In the Faciltty. Park cars and trucks so as not to block diiveways or other
storage spaces, us . .
(3) Do not connect refrigarators or freezers to electric oullets. The electricity could be turned off at any time.

(4) Do not use any type of electric or gas heater In your storage Space. Use of any equipment using electricity, including small tools
and heat lamps, must be approved by the Manager. If in the opinion of the Manager an excessive amount of electricity Is used, an
additional fee will be charged. Disconnect any extension cords or electrical equipment when not In use.

(5) Turn off all lights when you leave your storage Space. .

(6) No open flames of any type such as camping equipment, cutting torches, kerosene lamps, candies, etc. are allowed In the Space.
(7) Do no sanding or spray palnting In your Space.

(8) Store no gasoline, explosives or other hazardous materials in your Space.

(9) BDO NOT STORE ANY FOOD IN YOUR SPACE.

(10) Remove all trash and unwanted Items from your storage Space. Do not put unwanted Items In unrented space, Use the
receptacle provided at the facillty for disposal of smalt items only. Tenant Is responsible for off-site disposal of large items.

(11) The Facility will be closed on New Year's Day, Easter, the 4th of July, Thanksgiving Day and Christmas. These dates are posted in
the Facility office in advance as a reminder.

(12) YOU ARE RESPONSIBLE: Lock your Space using only one lock. You must obtain Insurance If you wish your property Insured.
(18) CHANGE OF ADDRESS: Report any change of address, phone number, etc. by certified mall to the office to keep our records current.

(14) VACATE: POLICY: When you plan to vacate, you must give our Manager written notice at least ten (10) days prior to the end of your
last month of tenancy. If you have not paid your rent for a month but vacate by the fifth (5th), your rent will be prorated. After the fifth
(5th), one month's rent will be due even If you vacate. ‘

(15) RENTAL PROVISIONS: All of the provisions of the Rental Agreement, of which these. Rules and Regulations are a part, apply to

(18) RENTAL PROVISIONS: All of the provisions of the Rental Agreement, of which th

your occupancy and use of your storage Space and your access to this Facllity. ese. Rules and Regulations are a part, apply to

(18) IMPORTAN :

an bs IT NOTE: Beware that pest control products may be In use. You are responsible for the safety of children and pets.
yments recelved alter posted office business hours will be credited to the next business day. .

(18) Personal checks are not acceptable as payment upon move out by the Tenant.

NOTICE TO TENANT: DO NOT SIGN THIS AG ,

3 REEMENT BEFORE YOU
HEREIN, KEEP A COPY OF THIS AGREEMENT TO PROTECT YOUR LEGAL RIG
AGREEMENT THAT HE/SHE HAS READ, UN: ;

Executed this 4 sk

TENANTS SIGNATURE Ay

LESSOR: SUSA Partnership L. P.
By: St USA, Inc., General Parner

f : ,
fe } .
» EK Saye Fan |

AND FULLY UNDERSTAND THE COVENANTS

: CONTAINED
HT. TENANT. HEREBY ACKNOWLEDGES BY

IDERSTOOD AND ACCEPTS ALL THE TERMS AND CONDITIONS EXPRESSED IN THIS AGREEMENT

Aus . 19 YS in Marylana,

o--—= PRINT NAME 6. WALE TAIL! SILAD

day of

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TITLE Manager / AssiStanit’ Manager

